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     Federal Defender
 2   NED SMOCK, Bar #236238
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   DARRON ANTJUAN REED
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,          )   No. CR-S-07-348 FCD
                                        )
11                   Plaintiff,         )
                                        )   STIPULATION AND ORDER
12        v.                            )
                                        )
13   DARRON ANTJUAN REED, and           )   Date: May 5, 2008
     DERRICK CHASE.                     )   Time: 10:00 A.M.
14                                      )   Judge: Hon. Frank C. Damrell, Jr.
                                        )
15                  Defendants.         )
     _______________________________
16
          IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their respective counsel, Philip Ferrari, Assistant United States
18
     Attorney, attorney for Plaintiff; Ned Smock, Assistant Federal
19
     Defender, attorney for Darron Antjuan Reed; and J. Patrick McCarthy,
20
     attorney for Derrick Chase, that the current Status Conference for
21
     March 24, 2008 be vacated and a new date of May 5, 2008 at 10:00 a.m.
22
     be set for further status.
23
           Both defense counsel need additional time to review that
24
     discovery and perform necessary investigation.        There have been initial
25
     discussions about a possible plea agreement, but further investigation
26
     is required by defense counsel to resolve an issue raised by the
27
     government during those negotiations.
28
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 1        It is further stipulated and agreed between the parties that the
 2   period beginning March 24, 2008 to May 5, 2008, should be excluded in
 3   computing the time within which the trial of the above criminal
 4   prosecution must commence for purposes of the Speedy Trial Act for
 5   defense preparation.    All parties stipulate and agree that this is an
 6   appropriate exclusion of time within the meaning of Title 18, United
 7   States Code, Section 3161(h)(8)(iv) (Local Code T4).
 8
 9   Dated: March 21, 2008                  Respectfully submitted,
10                                          DANIEL BRODERICK
                                            Federal Defender
11
12                                               /S/NED SMOCK
                                            NED SMOCK
13                                          Assistant Federal Defender
                                            Attorney for Defendant
14                                          DARRON ANTJUAN REED
15                                          /s/Ned Smock for J. PATRICK McCARTHY
                                            J. PATRICK McCARTHY
16                                          Attorney for Defendant
                                            DERRICK CHASE
17
18                                          MCGREGOR W. SCOTT
                                            United States Attorney
19
20                                          /s/Ned Smock for PHILIP FERRARI
                                            PHILIP FERRARI
21                                          Assistant U.S. Attorney
22        IT IS SO ORDERED.
23   DATED: March 21, 2008
24
25                                          _____________________________
                                            HONORABLE FRANK C. DAMRELL, JR.
26                                          District Court Judge
27
28


                                           2
